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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §        CASE NO. 1:15-CR-95 (2)
                                                 §
                                                 §
GREG JEROME ANDERSON, JR.                        §
a/k/a “Gregory Jerome Anderson, III”             §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter is referred to the undersigned United States

Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

       On September 17, 2015, this case came before the undersigned magistrate judge for entry of

a guilty plea by the Defendant, Greg Jerome Anderson, Jr., to Count Three of the Superseding

Indictment. Count Three alleges that on or about July 16, 2015, in Orange County, Texas, in the

Eastern District of Texas, Greg Jerome Anderson, Jr., a/k/a “Gregory Jerome Anderson, III,” and his

codefendant, knowingly possessed a firearm, to wit: one Lorcin .25 caliber pistol, bearing serial

number 228566 , during and in furtherance of a crime of violence for which they may be prosecuted

in a court of the United States, namely, car-jacking and conspiracy to commit car-jacking, in

violation of 18 U.S.C. §§ 2119 and 371, all in violation of 18 U.S.C. § 924(c)(l)(A)(ii), and§ 2.

       The Defendant, Greg Jerome Anderson, Jr., entered a plea of guilty to Count Three of the

Superseding Indictment into the record at the hearing. After conducting the proceeding in the form

and manner prescribed by Federal Rule of Criminal Procedure 11, the undersigned finds:



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       a.       That the Defendant, after consultation with his attorney, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this case by a United States

Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

sentence by the District Court.

       b.       That the Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal. The

Defendant verified that he understood the terms of the plea agreement, agreed with the Government’s

summary of the plea agreement, and acknowledged that it was his signature on the plea agreement.

To the extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM.

P. 11 (c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the court

does not follow the particular recommendations or requests. To the extent that any or all of the terms

of the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

that he will have the opportunity to withdraw his plea of guilty should the court not follow those

particular terms of the plea agreement.1

       c.       That the Defendant is fully competent and capable of entering an informed plea, that


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       “(3) Judicial Consideration of a Plea Agreement.
                (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may
                accept the agreement, reject it, or defer a decision until the court has reviewed the presentence report.
                (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise
                the defendant that the defendant has no right to withdraw the plea if the court does not follow the
                recommendation or request.
       (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to
       the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be
       included in the judgment.
       (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified
       in Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause,
       in camera):
                (A) inform the parties that the court rejects the plea agreement;
                (B) advise the defendant personally that the court is not required to follow the plea agreement and give
                the defendant an opportunity to withdraw the plea; and
                (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case
                less favorably toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P.
                11(c)(3)-(5).

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the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

did not result from force, threats or promises (other than the promises set forth in the plea

agreement). See FED. R. CRIM. P. 11(b)(2).

        d.      That the Defendant’s knowing and voluntary plea is supported by an independent

factual basis establishing each of the essential elements of the offense and the Defendant realizes that

his conduct falls within the definition of the crime charged under 18 U.S.C. § 924(c)(l)(A)(ii)

(Possession of a Firearm in Furtherance of a Crime of Violence).

                                  STATEMENT OF REASONS

        As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government would prove that the Defendant is

the same person charged in the Superseding Indictment and that the events described in the

Superseding Indictment occurred in the Eastern District of Texas and elsewhere. The Government

would also have proven, beyond a reasonable doubt, each and every essential element of the offense

as alleged in Count Three of the Superseding Indictment through the testimony of witnesses,

including expert witnesses, and admissible exhibits. In support of the Defendant’s plea, the

undersigned incorporates the proffer of evidence described in detail in the factual basis and

stipulation, and the Defendant’s admissions made in open court in response to the undersigned’s

further inquiry into the factual basis and stipulation.

        The Defendant agreed with and stipulated to the evidence presented in the factual basis.

Counsel for the Defendant and the Government attested to the Defendant’s competency and

capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented


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by the Government and personally testified that he was entering his guilty plea knowingly, freely and

voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count Three of the Superseding Indictment. Accordingly, it is

further recommended that the District Court finally adjudge the Defendant, Greg Jerome Anderson,

Jr., guilty of the charged offense under 18 U.S.C. § 924(c)(l)(A)(ii).

       The Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. The Defendant has the right to allocute before the District Court

before imposition of sentence.

                                          OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

identify those findings or recommendations to which the party objects, and (3) be served and filed

within fourteen (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1)(c)

(2009); FED. R. CIV. P. 72(b)(2). A party who objects to this report is entitled to a de novo

determination by the United States District Judge of those proposed findings and recommendations

to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P.

72(b)(3).

       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy


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of this report, bars that party from: (1) entitlement to de novo review by the United States District

Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77

(5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

Servs. Auto. Ass’n, 79 F.3d 1415, at 1428–29 (5th Cir. 1996) (en banc).


        SIGNED this 17th day of September, 2015.




                                                      _________________________
                                                      Zack Hawthorn
                                                      United States Magistrate Judge




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